                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:05cr2


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
RANULFO MAYORGA                          )
________________________________________ )


       THIS MATTER is before the Court upon the defendant’s Notice of Non-Availability,

which the Court will consider as a motion for a continuance of this matter from the July 18, 2005

trial term in the Charlotte Division. (Doc. No. 37).

       On July 18, 2005, the Court held calendar call and announced this case would be tried on

August 15, 2005, in part because of the need for an interpreter. The defendant’s Notice was not

filed until July 24, 2005. Additionally, the Notice fails to state the reasons counsel claims he is

unavailable for trial. Thus, the Court finds that the defendant has not stated sufficient cause for a

continuance in this matter.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.




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                         Signed: July 28, 2005




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